 Case 8:21-bk-10525-ES    Doc 308 Filed 02/10/22 Entered 02/10/22 15:40:30              Desc
                           Main Document     Page 1 of 2




 1
                                                              FILED & ENTERED
 2

 3                                                                 FEB 10 2022
 4                                                            CLERK U.S. BANKRUPTCY COURT
                                                              Central District of California
 5                                                            BY duarte     DEPUTY CLERK


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                      UNITED STATES BANKRUPTCY COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
                                    SANTA ANA DIVISION
12

13   In re                                       Chapter 11

14                                               CASE NO. 8:21-10525-ES
     THE SOURCE HOTEL, LLC.
15

16                       Debtors.                ORDER DISMISSING CASE

17

18
                                                 Date: February 10, 2022
19                                               Time: 10:30 a.m.
                                                 Place: Courtroom 5A
20

21
             An Order to Show Cause Why Bankruptcy Case Should Not be Dismissed in
22
     the above-captioned case came on for hearing before the Honorable Erithe A. Smith,
23
     United States Bankruptcy Judge on February 10, 2022 at 10:30 a.m. Appearances
24
     were waived as noted on the record. The Court having considered the evidence and
25
     good cause appearing, it is hereby
26
 Case 8:21-bk-10525-ES         Doc 308 Filed 02/10/22 Entered 02/10/22 15:40:30   Desc
                                Main Document     Page 2 of 2




 1
            ORDERED, that the above-captioned case is dismissed.
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     Date: February 10, 2022
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